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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

       Plaintiff,

v.                                                          Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

       Defendants.

                STIPULATED NOTICE EXTENDING DEFENDANT
               MEOW WOLF. INC.’S DEADLINE TO RESPOND TO
     PLAINTIFF’S MOTION TO COMPEL DISCOVERY, REQUEST FOR JUDICIAL
     NOTICE, AND MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

       Pursuant to Rule 7.4(a) of the United States District Court, District of New Mexico Local

Rules of Civil Procedure, Defendant Meow Wolf, Inc., by and through its undersigned counsel,

hereby gives notice of an agreed extension of seven (7) days to respond to Plaintiff’s Motion to

Compel Discovery from Defendant Meow Wolf, Inc. [D.E. 72], Plaintiff’s Request for Judicial

Notice [D.E. 75], and Plaintiff’s Motion for Leave to File First Amended Complaint [D.E. 77]

(collectively, the “Motions”), which were filed on February 22, 2021. Meow Wolf, Inc. shall have

up to and including March 15, 2021 to file its responses to the Motions.


Dated: March 5, 2021
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                                                  Respectfully submitted,

                                                  BARDACKE ALLISON LLP

                                                   /s/ Benjamin Allison
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                                                  Counsel for Defendants Meow Wolf, Inc.
                                                  and Vince Kadlubeck

Approved by:

ERICKSEN ARBUTHNOT

By:   /s/ Jesse A. Boyd
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      Counsel for Plaintiff Lauren Adele Oliver
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of March, 2021, a true and correct copy of the foregoing
document was served via CM/ECF on all interested parties. I further certify that I mailed the
foregoing document and the notice of electronic filing by first-class mail to the following non-
CM/ECF participants: N/A.


                                                              /s/ Benjamin Allison
                                                              Benjamin Allison
